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                  EXHIBIT 6
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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

ELIZABETH SINES,ET AL.                             )
                                                   )
                                     Plaintiffs,   )
                                                   )   Civil Action No.
v.                                                 )   3:17-cv-00072-NKM
                                                   )
JASON KESSLER, ET AL.                              )
                                  Defendants.      )
_____________________________________              )

     DEFENDANT NATIONALIST FRONT RESPONSES TO PLAINTIFFS’ SECOND SET OF
           INTERROGATORIES TO NON-DEFAULTED ENTITY DEFENDANTS



     Pursuant to Federal Rule of Civil Procedure 33, Defendant Nationalist Front (NF), by

and through his attorney, hereby submits these answers and objections to the second set of

interrogatories No. 1-14 submitted by Plaintiffs Elizabeth Sines, et al . Defendant NF

reserves the right to supplement, amend, or correct all or any part of this response as

permitted under the Federal Rules of Civil Procedure and the right to object to the

admissibility of any evidence related to this response.


                                     PRELIMINARY STATEMENT


     All of the responses contained herein are based only upon such information and

documents as are presently available to and specifically known by Defendant NF. The

following responses are given without prejudice to Defendant NF’s right to produce

evidence of any subsequently-discovered fact(s) at the time of trial. These responses are

made in a good faith effort to supply as much factual information and as much specification

of legal contentions as is presently known, but should in no way be the prejudice of

Defendant NF in relation to further discovery. In providing such answers, Defendant NF

hereby specifically objects to all questions that either directly or indirectly call for the
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disclosure or production of privileged material and material subject to work product

protection. None of the answers or information contained herein or provided to the

Plaintiffs shall be deemed to be a waiver to such objection.


                                     GENERAL OBJECTIONS


1.   Defendant NF objects to the interrogatories to the extent that they seek information or

     the production or identification of documents not in the possession, custody or control

     of Defendant NF within the meaning of the Federal Rules of Civil Procedure or the

     Federal Rules of Evidence on the grounds that said interrogatories are overbroad,

     unreasonable, unduly burdensome, improper and that their scope is not limited to

     information known to Defendant NF.

2.   Defendant NF objects to the interrogatories to the extent that they seek information or

     the production or identification of documents protected by the attorney-client

     privilege, by the work product privilege, or by any other privilege.

3.   In responding to the interrogatories, Defendant NF has conducted a reasonable inquiry

     of those persons most likely to possess information responsive thereto and a

     reasonable search of records where information interrogatory ed would most likely be

     maintained. To the extent plaintiffs see to require Defendant NF to respond further,

     Defendant NF objects on the grounds that the interrogatories are, to said extent,

     overbroad, unduly burdensome, unreasonable and oppressive.

4.   Defendant NF will make any documents identified in response to any interrogatory

     available for inspection and copying at a time mutually convenient to the parties and

     their respective counsel. By agreeing to produce responsive documents, Defendant NF

     does not acknowledge that such documents exist.
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5.   Defendant NF submits these responses without conceding the relevance or materiality

     of the subject matter of any document or information which may be produced or

     identified, and without prejudice to Defendant NF’s right to object to further discovery

     or to object to the admissibility of any proof on the subject matter of any discovery of

     any document. Defendant NF reserves the right to change or to supplement any

     response that may subsequently appear to be incomplete or incorrect. Defendant NF

     reserves the right to object at such a later time that any document produced or

     response given hereunder is protected by the attorney-client privilege, or as attorney

     work product or trial preparation material, and that the production or response was

     inadvertent.

6.   To the extent the interrogatories seek to impose upon Defendant NF any duties or

     requirements in excess of those specified in the Federal Rules of Civil Procedure, local

     rules, or applicable law, Defendant NF objects to same.

7.   Defendant NF objects to each interrogatory to the extent it is repetitive and/or

     substantially overlaps with other interrogatories. When a response is equally

     responsive to more than one interrogatory, Defendant NF will respond only once.

8.   Each of the foregoing general objections is expressly incorporated by reference into

     each of the specific responses of Defendant NF to the interrogatories. A specific

     response may repeat a general objection for emphasis or some other reason. The

     failure to include any general objection in any specific response does not waive any

     general objection to that request. Moreover, Defendant NF does not waive its right to

     amend its responses.


                            ANSWERS AND SPECIFIC OBJECTIONS
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    Without waiving the Preliminary Statement and General Objections set forth above,

and subject to them, Defendant NF objects and responds to the Plaintiffs’ Second Set of

Interrogatories as follows:


INTERROGATORY NO. 1:

Describe in Detail the structure of Your organization as it existed between January 2017
and January 2018, including but not limited to: (a) each level, group, division, subdivision,
unit, branch, or segment (whether formal or informal); (b) the titles, roles and
responsibilities of each position (whether formal or informal) associated with each level,
group, division, sub-division, unit, branch or segment; (c) the hierarchy, relationships, and
ranks of each level, group, division, sub-division, unit, branch or segment relative to each
other; (d) the hierarchy, relationship and ranks of each position within and across such
groups, divisions, sub-divisions, units, branches or segments and (e) the name(s) of every
person who occupied each position from January 2017 to January 2018.

RESPONSE TO INTERROGATORY NO. 1:

    Defendant Nationalist Front (NF) was never an organization. From January 2017 to

January 2018, the Nationalist Front was an alliance of many separate individual

organizations.


INTERROGATORY NO.2:


Describe in Detail the core values, beliefs, and mission of Your organization, and any
manner in which Your organization expresses, Communicates, or promotes those core
values, beliefs and mission.

RESPONSE TO INTERROGATORY NO.2:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Two. To the extent an answer is required the defendant answers as

follows, NF was a voluntary alliance that encouraged nationwide, regional, and local

like-minded organizations to work together.


INTERROGATORY NO.3:

Describe in Detail the process by which an individual becomes a Member of Your
organization, including but not limited to any prerequisites or requirements, conditions of
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membership, application process, investigation or vetting process, decision or approval
process, initiation procedures, or rituals.

RESPONSE TO INTERROGATORY NO.3:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Three. To the extent an answer is required the defendant answers as

follows: NF was a voluntary alliance that encouraged like-minded nationwide, regional, and

local organizations to work together.


INTERROGATORY NO.4:

Identify each member of Your organization who participated in any aspect of planning or
organizing in advance of the Unite the Right rally, and Describe in Detail the nature of the
planning or organizing in which each such Member participated.

RESPONSE TO INTERROGATORY NO. 4:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Four. Due to the time that has transpired since the events described,

Defendant NF has no memory of such incidents or events described in Interrogatory

Number Four.


INTERROGATORY NO. 5:

Identify each Member of Your organization who attended the Unite the Right rally.

RESPONSE TO INTERROGATORY NO. 5:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Five. Due to the time that has transpired since the events described,

Defendant NF has no memory of such incidents or events described in Interrogatory

Number Five.


INTERROGATORY NO. 6:

Identify each method of communication used by Members of Your organization from
January 2017 to January 2018 to Communicate with each other, including but not limited to
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text-message communications, email communications, telephone conversations, in-person
communications, communications on Discord, communications on Gab, communications on
Facebook, communications on What’s App, etc.

RESPONSE TO INTERROGATORY NO. 6:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Six. Due to the time that has transpired since the events described,

Defendant NF has no memory of such incident or events described in Interrogatory

Number Six.


INTERROGATORY NO. 7:

Identify and Describe in Detail each Contact or Communication of any kind you had with
each one of the other Defendants between January 2017 and August 12, 2017, including for
each Contact or Communication, the nature or content of the Contact or Communication,
the method of Contact or Communication used, where and when the Contact or
Communication took place, and anyone else who participated in the Contact or
Communication.

RESPONSE TO INTERROGATORY NO. 7:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Seven. Due to the time that has transpired since the events

described, Defendant NF has no memory of such incident or events described in

Interrogatory Number 7.


INTERROGATORY NO. 8:

Identify all expenses You incurred in planning, organizing, or attending the Unite the RIght
rally and the sources of funding and method of payment used to satisfy those expenses.

RESPONSE TO INTERROGATORY NO.8:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Eight. Due to the time that has transpired since the events described,

Defendant NF has no memory of such incident or events described in Interrogatory

Number Eight.
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INTERROGATORY NO. 9:

Identify and Describe in Detail each case in which You were charged in Criminal
Proceedings that resulted in a conviction, whether state or federal, including for each such
case, the full title of the action, court, docket number, a description of the allegations, the
disposition, and the sentence.

RESPONSE TO INTERROGATORY NO. 9:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Nine.


INTERROGATORY NO. 10:

Identify each legal matter, whether federal, state, criminal, civil, administrative, or
otherwise, concerning the Events in which You have participated as a party or a witness,
including but not limited to giving any testimony (written or verbal) in depositions,
hearings, trials, or any other legal proceeding.

RESPONSE TO INTERROGATORY NO. 10

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Ten.


INTERROGATORY NO. 11:

Describe in Detail any Advertisement or Promotional Material You displayed or posted
whether online or otherwise, in which You Advertised or promoted the Unite the Right
rally, including where, when, how, an for what period of time you displayed or posted such
Advertising or Promotional Material and the content of such Advertisement or Promotional
Material.

RESPONSE TO INTERROGATORY NO. 11:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Eleven. Due to the time that has transpired since the events

described, Defendant NF has no memory of such incident or events described in

Interrogatory Number Eleven.


INTERROGATORY NO. 12:
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Identify each Communication concerning the Events that You had with each member of
Law Enforcement, whether before, after, or during the Events, including the name of the
member of Law Enforcement, when, where, and how each Communication took place, and
the nature or content of each Communication.

RESPONSE TO INTERROGATORY NO. 12:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Twelve. Due to the time that has transpired since the events

described, Defendant NF has no memory of such incident or events described in

Interrogatory Number Twelve.


INTERROGATORY NO. 13:

Identify each Communication concerning the Events that You had with any Government
Official, whether before, after, or during the Events, including the name of the Government
Official, when, where, and how each Communication took place, and the nature or content
of each Communication.

RESPONSE TO INTERROGATORY NO. 13:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Thirteen. Due to the time that has transpired since the events

described, Defendant NF has no memory of such incident or events described in

Interrogatory Number Thirteen.


INTERROGATORY NO. 14:

Identify each Communication concerning the Events that You had with any School Official,
whether before, after, or during the Events, including thename of the School Official, when,
where and how each Communication took place, and the nature or context of each
Communication.

RESPONSE TO INTERROGATORY NO. 14:

    Defendant Nationalist Front lacks information or knowledge sufficient to answer

Interrogatory Number Fourteen. Due to the time that has transpired since the events

described, Defendant NF has no memory of such incident or events described in

Interrogatory Number Fourteen.
